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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. Case No.: 8:16-cr-211-T-26JSS
ALTIUS WILLIX 18 U.S.C. § 111(a)(1), (b)

21 U.S.C. §§ 846, 841(a)(1)
21 U.S.C. § 841(b)(1)(A)(viii)
21 U.S.C. § 853 (Forfeiture)
SUPERSEDING INDICTMENT
The Grand Jury charges:
COUNT ONE
On or about April 12, 2016, in the Middle District of Florida,
ALTIUS WILLIX,
did knowingly and intentionally forcibly assault, resist, oppose, impede, intimidate
and interfere with an officer and employee of the United States, as designated in
18 U.S.C. § 1114, that is, D.S., a United States Postal Inspector, while he was
engaged in, and on account of, the performance of his official duties, and in
committing said offense, used a deadly and dangerous weapon and inflicted bodily
injury.
In violation of 18 U.S.C. § 111(a)(1) and (b).
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COUNT TWO
On or about April 12, 2016, in the Middle District of Florida,
ALTIUS WILLIX,
did knowingly and intentionally forcibly assault, resist, oppose, impede, intimidate
and interfere with an officer and employee of the United States, as designated in
18 U.S.C. § 1114, that is, E.M., a Drug Enforcement Administration Special Agent,
while he was engaged in, and on account of, the performance of his official duties,
and in committing said offense, used a deadly and dangerous weapon and inflicted
bodily injury.
In violation of 18 U.S.C. § 111(a)(1) and (b).
COUNT THREE
Beginning on an unknown date and continuing through on or about April 12,
2016, in the Middle District of Florida and elsewhere,
ALTIUS WILLIX,
did knowingly and willfully combine, conspire, and agree with other persons,
known and unknown to the Grand Jury, to possess with intent to distribute 500
grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §
841(a)(1).

Allin violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)(viii).
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COUNT FOUR
On or about April 12, 2016, in the Middle District of Florida,
ALTIUS WILLIX,

did knowingly and intentionally attempt to possess with intent to distribute 500
grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule || controlled substance.

In violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)(viii).

FORFEITURE

1. The allegations contained in Counts Three and Four of this
Superseding Indictment are hereby realleged and incorporated by reference, for
the purpose of alleging forfeitures pursuant to 21 U.S.C. § 853.

2. Upon conviction of the violations alleged in Counts Three and Four
of this Superseding Indictment,

ALTIUS WILLIX,

shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property
constituting or derived from any proceeds obtained, directly or indirectly, as a
result of the defendant's violations, including but not limited to $15,172 in United
States currency, and any property used or intended to be used to commit, or to
facilitate the commission of, such violations.

3. If any of the property described above, as a result of any act or
omission of the defendants:

a. cannot be located upon the exercise of due diligence;
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b, has been transferred or sold to, or deposited with, a third
party;

C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

ei has been commingled with other property which cannot be
divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property
under 21 U.S.C. § 853(p).

A TRUE BILL,

2 Set

Foreperson

A. LEE BENTLEY, III
United States Attorney

By: fol t=

Carlton C. Gammons
Assistant United States Attorney

By: Heist 7 Munror/

Christopher F. Murray
Assistant United States ——
Chief, Violent Crime and Gangs

 

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FORM OBD-34
APR 1991 No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division
THE UNITED STATES OF AMERICA

vs.

ALTIUS WILLIX

 

 

SUPERSEDING INDICTMENT
Violations:
Title 18, United States Code, Section 111(a)(1), (b)

Title 21, United States Code, Sections 846 and 841(a)(1)
Title 21, United States Code, Section 841(b)(1)(A)(viii)

 

 

 

 

A true bill,
r\sea a
 Foreperson
Filed in open court this day of June, 2016.

 

Clerk

Bail $

GPO 863 $25
